     6:13-cv-00242-TDD Document 87 Filed in ED/OK on 11/30/15 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF OKLAHOMA

PAMELA S. CHRISTIE,                          )
                                             )
                Plaintiff,                   )
                                             )
v.                                           )       Case No. 13-CV-242-TDD
                                             )
STATE FARM MUTUAL                            )
AUTOMOBILE INSURANCE                         )
COMPANY,                                     )
                                             )
                Defendant.                   )


              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), Plaintiff Pamela S. Christie, by and

through her counsel of record, Simone Gosnell Fulmer of Fulmer Group PLLC, and

Defendant State Farm Mutual Automobile Insurance Company, by and through their counsel

of record, John S. Gladd and Andrew Brown of Atkinson, Haskins, Nellis, Brittingham,

Gladd & Fiasco, hereby stipulate to a dismissal with prejudice of all of Plaintiff’s claims and

causes of action in the above-styled and numbered case, each party to bear their own

attorneys’ fees and costs.

         Dated this 30th day of November, 2015.
6:13-cv-00242-TDD Document 87 Filed in ED/OK on 11/30/15 Page 2 of 2




                                Respectfully submitted,

                                /s/Simone Gosnell Fulmer
                                Simone Gosnell Fulmer, OBA #17037
                                FULMER GROUP PLLC
                                P.O. Box 2448
                                Oklahoma City, OK 73101
                                Phone/Fax: (405) 510-077
                                E-Mail:sfulmer@fulmergrouplaw.com

                                ATTORNEY FOR PLAINTIFF


                                -AND-


                                /s/ John S. Gladd
                                John S. Gladd, OBA #12307
                                J. Andrew Brown, OBA #22504
                                ATKINSON, HASKINS, NELLIS,
                                   BRITTINGHAM, GLADD & FIASCO
                                525 South Main, Suite 1500
                                Tulsa, OK 74103
                                Phone: (918) 582-8877
                                Facsimile: (918) 585-8096

                                ATTORNEY FOR DEFFENDANT
